Filed 06/07/19                                                                                       Case 19-21640                                                     Doc 54



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                                                                   Peter Cianchetta, SBN: 220971
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                                                                   CIANCHETTA & ASSOCIATES
                                                              3    8788 Elk Grove Blvd., Suite 2A
                                                                   Elk Grove, California 95624
                                                              4    Ph: (916) 685-7878
                                                                   plc@eglaw.net
                                                              5
                                                                   Attorney for Deborah Leigh Miller-Zuranich
                                                              6

                                                              7                          UNITED STATES BANKRUPTCY COURT

                                                              8                           EASTERN DISTRICT OF CALIFORNIA

                                                              9        In re:                                        Case No. 2019-21640
                                                              10
                                                                       Deborah Leigh Miller-Zuranich                 DCN: PLC-03
   CIANCHETTA & ASSOCIATES




                                                              11
                                                                                                    ,Debtors         Hearing Date: July 9, 2019
                             8788 Elk Grove Blvd., Suite 2A




                                                              12
                                                                                                                     Hearing Time: 1:00 p.m.
                                 Elk Grove, CA 95624




                                                              13                                                     Hon. Christopher D. Jaime
                                                              14
                                                                                                                     Courtroom 32 - Dept B

                                                              15
                                                                                     AMENDED NOTICE OF HEARING ON MOTION TO
                                                              16
                                                                                                     CONFIRM CHAPTER 13 PLAN
                                                              17
                                                                   PLEASE TAKE NOTICE that on July 9, 2019 at 1:00 p.m., or as soon thereafter as the
                                                              18
                                                                   matter may be heard, in Department B of the U.S. Bankruptcy Court, Eastern District of
                                                              19
                                                                   California, Courtroom 32, 7th floor 501 I Street, Sacramento, CA 95814, Peter Cianchetta,
                                                              20
                                                                   Attorney for Deborah Leigh Miller-Zuranich, pursuant to 11 USC §1323 has filed a Motion to
                                                              21
                                                                   Confirm Chapter 13 Plan. Said grounds will be supported by this notice of motion, by the
                                                              22
                                                                   pleadings and papers on file in this bankruptcy case, by declaration in support of this motion
                                                              23
                                                                   and exhibits, and by such oral and documentary evidence as the Court may permit upon the
                                                              24
                                                                   hearing of this motion. Not all information regarding the motion or the Debtors’ case is set
                                                              25
                                                                   forth in this motion, and interested parties are advised to review the court’s file at the Office
                                                              26
                                                                   of the Clerk, 501 I Street, Suite 3-200, Sacramento, CA 95814.
                                                              27
                                                                           PLEASE TAKE FURTHER NOTICE THAT pursuant to Local Bankruptcy Rule
                                                              28
                                                                   9014-1(f)(1) opposition, if any, to the granting of the motion shall be in writing and shall be
                                                                                                                PAGE 1
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                                                              1
                                                                   served and filed with the Court by the responding party at least fourteen (14) days preceding
                                                              2
                                                                   the date or continued date of the hearing. Opposition shall be accompanied by evidence
                                                              3
                                                                   establishing its factual allegations. Without good cause, no party shall be heard in opposition
                                                              4
                                                                   to a motion at oral argument if written opposition to the motion has not been timely filed.
                                                              5
                                                                   Failure of the responding party to timely file written opposition may be deemed a waiver of
                                                              6
                                                                   any opposition to the granting of the motion or may result in the imposition of sanctions.
                                                              7
                                                                          The opposition shall specify whether the responding party consents to the Court’s
                                                              8
                                                                   resolution of disputed material factual issues pursuant to Fed. R. Civ. P. 43(c) as made
                                                              9
                                                                   applicable by Fed. R. Bankr. P. 9017. If the responding party does not so consent, the
                                                              10
                                                                   opposition shall include a separate statement identifying each disputed material factual issue.
   CIANCHETTA & ASSOCIATES




                                                              11
                                                                   The separate statement shall enumerate discretely each of the disputed material factual issues
                             8788 Elk Grove Blvd., Suite 2A




                                                              12
                                                                   and cite the particular portions of the record demonstrating that a factual issue is both material
                                 Elk Grove, CA 95624




                                                              13
                                                                   and in dispute. Failure to file the separate statement shall be construed as consent to resolution
                                                              14
                                                                   of the motion and all disputed material factual issues pursuant to Fed. R. Civ. P. 43(c).
                                                              15
                                                                   Respondents may determine whether the matter has been resolved without oral argument or
                                                              16
                                                                   whether the court has issued a tentative ruling, and can view [any] pre-hearing dispositions by
                                                              17
                                                                   checking the Court’s website at www.caeb.uscourts.gov after 4:00 P.M. the day before the
                                                              18
                                                                   hearing, and parties appearing telephonically must view the pre-hearing dispositions prior to
                                                              19
                                                                   the hearing.
                                                              20          Respondents may determine whether the matter has been resolved without oral

                                                              21   argument or whether the court has issued a tentative ruling, and can view [any] pre-hearing
                                                              22
                                                                   dispositions by checking the Court’s website at www.caeb.uscourts.gov after 4:00 P.M. the
                                                              23
                                                                   day before the hearing, and parties appearing telephonically must view the pre-hearing
                                                              24
                                                                   dispositions prior to the hearing.
                                                              25

                                                              26   Respectfully submitted on June 7, 2019.       Cianchetta & Associates

                                                              27                                                 /s/ Peter Cianchetta_________
                                                              28                                                 Peter Cianchetta, Attorney for
                                                                                                                 Deborah Leigh Miller-Zuranich
                                                                                                                PAGE 2
